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  1          Plaintiff U.S. Equal Employment Opportunity Commission (the “EEOC”)
  2   and Defendant Jet Propulsion Laboratory (“JPL” or “Defendant”), collectively
  3   referred to as “the Parties,” hereby stipulate and agree to entry of this Consent
  4   Decree (the “Decree”) to fully and finally resolve Plaintiff’s complaint against JPL
  5   in U.S. Equal Employment Opportunity Commission v. Jet Propulsion Laboratory;
  6   Case No. 2:20-CV-03131 (the “Action”). On April 3, 2020, Plaintiff filed this
  7   Action in the United States District Court, Central District of California, for
  8   violation of the Age Discrimination in Employment Act (“ADEA”), 29 U.S.C. §
  9   621 et seq. The Action alleges that JPL discriminated against a class of older
10    employees based on their age. JPL expressly denies that it discriminated against
11    any individual or group of individuals based on age and denies all allegations of
12    wrongdoing, liability and damages set forth in the Action.
13                                                   I.
14                    PURPOSES AND SCOPE OF THE CONSENT DECREE
15           A.      The Decree is made and entered into by and between the EEOC and
16    Defendant and will be binding on and enforceable against Defendant, as well as
17    against JPL’s officers, directors, agents who are responsible for implementing the
18    terms of this Decree, successors and assigns in their capacity as such. Collectively,
19    the EEOC and Defendant are referred to herein as the “Parties.”
20           B.      The Parties have entered into this Decree for the following purposes:
21                   1.    To provide appropriate monetary and injunctive relief;
22                   2.    To facilitate employment practices in compliance with federal
23    law;
24                   3.    To facilitate a work environment free from discrimination and
25    retaliation;
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27                   4.    To facilitate training for JPL’s employees with respect to the
28    pertinent laws regarding age discrimination and retaliation;

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  1                 5.    To facilitate appropriate recording keeping, reporting, and
  2   monitoring; and
  3                 6.    To avoid business disruption, delay and expensive and
  4   protracted costs incident to this litigation.
  5         C.      This Decree will apply to JPL, which is located at 4800 Oak Grove
  6   Drive, Pasadena, CA 91109.
  7                                                   II.
  8                                           DEFINITIONS
  9         A.      “Action” is U.S. Equal Employment Opportunity Commission v. Jet
10    Propulsion Laboratory; Case No. 2:20-cv-03131.
11          B.      “ADEA” is the Age Discrimination in Employment Act, 29 U.S.C.
12    § 621 et. seq.
13          C.      “Charging Parties” are the individuals who filed EEOC Charge Nos.
14    480-2011-02203/480-2011-02711, 480-2011-02318, 480-2011-02320, 480-2011-
15    02325, 480-2011-02756, 480-2011-03178, 480-2012-00071, 480-2012-00722, 480-
16    2012-02409, 480-2013-01184, 480-2013-02051, 480-2013-02407, and 480-2013-
17    02836.
18          D.      “Claimant” is an individual who submits a Claim Form to the Claims
19    Administrator in accordance with Section VIII.
20          E.      “Claims Administrator” is an independent company responsible for
21    handling administration of the claims process in accordance with Section VIII.B.
22          F.      “Claim Form” is the form developed by the EEOC and reviewed by
23    JPL in accordance with Section VIII.B.4.d.
24          G.      “Court” is the United States District Court for the Central District of
25    California.
26          H.      “Decree” is this Consent Decree.
27          I.      “EEOC” is the United States Equal Employment Opportunity
28    Commission.

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  1         J.     “Effective Date” is the date this Decree is entered by the Court.
  2         K.     “Eligible Claimant” is a Claimant who meets all of the following
  3   requirements: (i) was employed by JPL in the United States at some point between
  4   January 1, 2010 and the Effective Date, inclusive; (ii) is found by the EEOC to have
  5   been laid off, forced to retire and/or denied rehire following layoff or forced
  6   retirement because they were age 40 or older between January 1, 2010 and the
  7   Effective Date; (iii) timely submits to the Claims Administrator a Claim Form
  8   setting forth facts in support of his or her claim as prescribed in Section VIII.B.4.
  9   and its subparts; and (iv) signs the Claimant Acceptance, Waiver, and Release of
10    Claims form.
11          L.     “JPL” is Jet Propulsion Laboratory.
12          M.     “Monitor” is the Equal Employment Opportunity Monitor prescribed
13    in Section X.A.1.
14          N.     “Notice of Settlement” is the notice prepared by the EEOC to advise
15    Potential Claimants of the fact and terms of the Decree, the required procedure and
16    deadline for their submission of Claim Forms, and the Claimant Acceptance,
17    Waiver, and Release of Claims.
18          O.     “Potential Claimants” are all individuals who (i) were employed by
19    JPL anywhere in the United States at any time, (ii) were laid off at any time
20    between January 1, 2010 and the Effective Date, or who retired between January 1,
21    2010 and the Effective Date, and (iii) were at least 40 years of age on the effective
22    date of the layoff or retirement.
23          P.     “Release of Claims” is the Claimant Acceptance, Waiver, and Release
24    of Claims form attached as Exhibit “A” to this Decree.
25          Q.     “Settlement Fund” is the escrow account into which JPL will cause to
26    be deposited the sum of Ten Million Dollars ($10,000,000) for distribution in
27    accordance with the terms of this Decree.
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  1                                                  III.
  2                                    RELEASE OF CLAIMS
  3         A.      This Decree fully and completely resolves all issues, claims and
  4   allegations raised by the EEOC against JPL in this Action, fully resolves EEOC
  5   Charge Nos. 480-2011-02203/480-2011-02711, 480-2011-02318, 480-2011-02320,
  6   480-2011-02325, 480-2011-02756, 480-2011-03178, 480-2012-00071, 480-2012-
  7   00722, 480-2012-02409, 480-2013-01184, 480-2013-02051, 480-2013-02407, and
  8   480-2013-02836. The EEOC has completed its investigation of these charges.
  9         B.      Nothing in this Decree will be construed to limit or reduce JPL’s
10    obligation to comply fully with the ADEA or any other federal employment statute.
11          C.      Nothing in this Decree shall be construed to preclude the EEOC from
12    bringing suit to enforce this Decree in the event that JPL fails to perform the
13    promises and representations contained herein. This Decree in no way affects the
14    EEOC’s right to bring, process, investigate or litigate charges that may be in
15    existence or may later arise against JPL in accordance with standard EEOC
16    procedures.
17                                                   IV.
18                                          JURISDICTION
19          A.      The Court has jurisdiction over the Parties and the subject matter of
20    this litigation. See 29 U.S.C. § 626(b). The Action asserts claims that, if proven,
21    would authorize the Court to grant the equitable relief set forth in this Decree. The
22    terms and provisions of this Decree are fair, reasonable and just. This Decree
23    conforms to the Federal Rules of Civil Procedure and the ADEA and is not in
24    derogation of the rights or privileges of any person.
25          B.      The Court will retain jurisdiction of this Action during the duration of
26    the Decree for the purposes of entering all orders, modifications, judgments and
27    decrees that may be necessary to implement the relief provided herein.
28          C.      There is no private right of action to enforce JPL’s duties and

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  1   obligations under the Decree; only the EEOC or its successors or assigns may
  2   enforce compliance.
  3                                                  V.
  4                    EFFECTIVE DATE AND DURATION OF DECREE
  5            A.   The provisions and agreements contained herein are effective
  6   immediately upon the date which this Decree is entered by the Court (the Effective
  7   Date).
  8            B.   Except as otherwise provided herein, this Decree will remain in effect
  9   for three (3) years after the Effective Date and will expire by its own terms at the
10    end of the thirty-sixth (36th) month from the Effective Date without further action
11    by the EEOC.
12                                                   VI.
13                           MODIFICATION AND SEVERABILITY
14             A.   This Decree constitutes the complete understanding of the Parties with
15    respect to the matters contained herein. No waiver, modification or amendment of
16    any provision of this Decree will be effective unless made in writing and signed by
17    an authorized representative of each of the Parties.
18             B.   If one or more provisions of the Decree are rendered unlawful or
19    unenforceable, the Parties will make good faith efforts to agree upon appropriate
20    amendments in order to effectuate the purposes of the Decree. In any event, the
21    remaining provisions will remain in full force and effect unless the purposes of the
22    Decree cannot, despite the Parties’ best efforts, be achieved.
23             C.   By mutual agreement of the Parties, this Decree may be amended or
24    modified in the interests of justice and fairness in order to effectuate the provisions
25    herein.
26                                                   VII.
27                        COMPLIANCE AND DISPUTE RESOLUTION
28             A.   The Parties expressly agree that if the EEOC has reason to believe that

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  1   JPL has failed to comply with any provision of this Consent Decree, the EEOC may
  2   petition this Court to enforce the Decree. Prior to initiating such action, the EEOC
  3   will notify JPL’s legal counsel of record, in writing, of the nature of the dispute.
  4   This notice will specify the particular provision(s) that the EEOC believes JPL
  5   breached. Unless the EEOC determines that the delay will cause irreparable harm,
  6   JPL will have thirty (30) calendar days to attempt to resolve or cure any non-
  7   monetary breach and will have five (5) business days to attempt to resolve or cure
  8   any monetary breach.
  9         B.     The Parties agree to cooperate with each other and use their best
10    efforts to resolve any dispute referenced in the EEOC notice.
11          C.     After thirty (30) calendar days have passed with respect to any non-
12    monetary breach, or five (5) business days have passed with respect to any
13    monetary breach, if the Parties have reached no resolution or agreement to extend
14    the time further, the EEOC may petition this Court for resolution of the dispute,
15    seeking all available relief, including an extension of the term of the Decree, and/or
16    any other relief the Court deems appropriate.
17                                                VIII.
18                 MONETARY RELIEF AND CLAIMS ADMINISTRATION
19          A.     Establishing a Settlement Fund and General Provisions
20                 1.     JPL will pay a total of Ten Million Dollars ($10,000,000) to
21    resolve this Action. Within thirty (30) calendar days of the Effective Date, JPL will
22    cause that sum to be deposited into the Settlement Fund and provide the EEOC with
23    written verification of that funding within seven (7) calendar days of deposit.
24                 2.     The Settlement Fund will be distributed to the Eligible
25    Claimants in accordance with the terms of this Decree.
26                 3.     The EEOC has full and complete discretion under the terms of
27    this Decree to determine who is an Eligible Claimant and the characterization of
28    such payments as income, wages or otherwise, as hereinafter described in this

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  1   Decree.
  2         B.     Claims Administration
  3                1.    Claims Administrator Selection and Approval
  4                      Within fifteen (15) calendar days of the Effective Date, JPL will
  5   hire and appoint a Claims Administrator, approved by the EEOC, to oversee the
  6   claims process and payments to Eligible Claimants as directed by the EEOC in the
  7   manner provided in Section VIII.B.4 designated in a Distribution List(s). If the
  8   Claims Administrator initially appointed by JPL thereafter declines to serve or to
  9   carry out its duties under this Decree, JPL will have ten (10) business days to notify
10    the EEOC in writing of the need for a replacement Claims Administrator and will
11    provide the EEOC with the name of a new Claims Administrator for approval by
12    the EEOC. If the EEOC objects to the appointment of the new administrator
13    identified by JPL, the Parties will meet and confer until they reach mutual
14    agreement on a replacement Claims Administrator. In the absence of an agreement
15    of the parties, the EEOC may appoint a Claims Administrator.
16                 2.    Responsibility for Claims Administrator’s Fees and Costs
17                       All of the Claims Administrator’s administration fees and costs
18    will be paid by or on behalf of JPL pursuant to its agreement with the Claims
19    Administrator, a copy of which agreement will be provided to the EEOC. Said
20    administration fees will not be funded by or deducted from the Settlement Fund.
21                 3.    Claims Administrator’s Duties and Responsibilities
22                       The Claims Administrator will work with the EEOC and JPL to
23    carry out the terms of the Decree. The Claims Administrator will be responsible
24    for: (a) establishing, within ten (10) calendar days of being appointed, a non-
25    interest-bearing account to hold in trust the Settlement Fund and notifying the
26    EEOC and JPL when the account is established and ready for deposit of the
27    Settlement Fund; (b) receiving and holding the Settlement Fund in trust, until
28    distribution; (c) establishing an informational website accessible to the EEOC and

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  1   Potential Claimants; (d) establishing an e-mail address accessible to Potential
  2   Claimants to submit questions and Claim Forms as defined in Section II.F; (e)
  3   establishing a toll-free telephone number accessible to Potential Claimants; (f)
  4   responding to information requests from Potential Claimants; (g) sending notices
  5   and Claim Forms to Potential Claimants; (h) obtaining updated addresses for
  6   Potential Claimants and re-mailing returned notices; (i) receiving and processing
  7   Claim Forms as provided in the Decree; (j) scoring Claim Forms based on criteria
  8   provided by the EEOC; (k) communicating the scoring to the EEOC; (l) sending
  9   notice of claim share to Claimants determined by the EEOC to be eligible if they
10    execute the Release of Claims form; (m) sending notice of ineligibility to Claimants
11    and anyone else determined by the EEOC to be ineligible; (n) issuing payments in
12    accordance with a final Distribution List provided by the EEOC; (o) calculating
13    withholding and payroll taxes and issuing tax reporting forms to each Eligible
14    Claimant who receives a settlement payment; (p) filing tax returns and issuing IRS
15    Form W-2’s and 1099’s with respect to the Settlement Fund; (q) communicating as
16    necessary with the EEOC and JPL; (r) tracking all necessary data regarding contact
17    with Potential Claimants, Claimants, and Eligible Claimants; (s) reissuing checks
18    where required in consultation with the EEOC, and (t) final distribution of the
19    Settlement Fund.
20                 4.    Claims Process and Distribution of Settlement Fund
21                       a.     Website, E-Mail Address, and Toll-Free Telephone
22    Number: Within twenty (20) calendar days after being retained, the Claims
23    Administrator will: (i) establish a website which will be accessible to the EEOC
24    and Potential Claimants; (ii) establish an e-mail address for purposes of
25    communicating with Potential Claimants by e-mail; and (iii) establish a toll-free
26    telephone number which will be accessible to Potential Claimants. The website
27    and/or e-mail address will be set up so that Potential Claimants may obtain and
28    submit a Claim Form electronically, if they so choose. Information posted on the

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  1   website and available on a recorded message on the toll-free telephone number will
  2   be limited to the general information included in the Notice of Settlement sent to
  3   Potential Claimants or update information as to status of the claim process (e.g.,
  4   claim-filing deadline; projected distribution date when known).
  5                      b.     Potential Claimant List: Within thirty (30) calendar days
  6   of the Effective Date, JPL will provide the Claims Administrator with a list of all
  7   Potential Claimants.
  8                      c.      For each individual on the Potential Claimant List, JPL
  9   will provide the following information from its records, to the extent known by
 10   JPL: (a) full name, including all known prior names or aliases; (b) last known
 11   address; (c) date of birth; (d) social security number; (e) employee identification
 12   number, if any, and if different from his or her Social Security Number; (f) all
 13   known telephone numbers; (g) all known e-mail addresses; (h) any known
 14   emergency contact information; (j) dates of employment at JPL; and (k) any release
 15   of claims signed by the individual (redacted of personal information, including the
 16   amount of any settlement).
 17                      d.     Notice of Settlement and Claim Form: After the Claims
 18   Administrator is retained, the EEOC will provide the Claims Administrator with the
 19   following forms: (a) Notice of Settlement; and (b) Claim Form. The EEOC will
 20   afford JPL an opportunity to provide input on the Notice of Settlement and Claim
 21   Form, which input the EEOC may accept or reject.
 22                      e.     Mailing Notice of Settlement and Claim Form, and
 23   Utilization of Media: Upon receipt of the Potential Claimant List from JPL, the
 24   Claims Administrator will first utilize available resources including a database
 25   search to update addresses. Using the updated addresses, the Claims Administrator
 26   will mail the Notice of Settlement, the Claim Form, and a return envelope
 27   addressed to the Claims Administrator to each Potential Claimant. The Notice and
 28   Claim Form will be mailed at the earliest possible date but not later than twenty-

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  1   eight (28) calendar days after the Claims Administrator receives the Notice of
  2   Settlement and Claim Form. For each individual on the Potential Claimant List for
  3   whom there is an e-mail address, the Claims Administrator will also send the
  4   individual an e-mail Notice of Settlement with instructions on how to obtain and
  5   submit an electronic version of the Claim Form. The Claims Administrator will
  6   provide to the EEOC a roster of the U.S. mail and e-mail transmissions no later
  7   than ten (10) calendar days after they are completed.
  8                       f.    Return Mail Handling: For each mailing to a Potential
  9   Claimant that is returned as undeliverable, the Claims Administrator will, within
 10   ten (10) calendar days: (1) research the Potential Claimant’s most-recent address,
 11   using best efforts and a database search to locate the Potential Claimant; and (2) (a)
 12   resend the Notice of Settlement and Claim Form and cover letter to the new or
 13   different address if a new or different address is obtained, or (b) advise the EEOC
 14   of the efforts taken to locate the Potential Claimant if no new or different address is
 15   obtained. The Claims Administrator will make no more than two (2) attempts to
 16   locate a Potential Claimant whose mailing is returned as undeliverable and in no
 17   event will any re-mailing of the Notice of Settlement and Claim Form occur more
 18   than six (6) months later than the Effective Date unless the EEOC determines a re-
 19   mailing is needed to advance the interest of the terms of this Decree.
 20                       g.    Claim-Filing Deadline: A Potential Claimant’s final
 21   claim-filing deadline will be the later of one hundred twenty (120) calendar days
 22   after the Notice of Settlement and the Claim Form are originally mailed or one
 23   hundred twenty (120) calendar days after the date the original Notice of Settlement
 24   and Claim Form are re-mailed. Claim Forms postmarked or submitted
 25   electronically to the Claims Administrator within these periods will be considered
 26   timely. However, Claim Forms that are received after the aforementioned time
 27   periods may be considered by the EEOC at its sole discretion.
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  1                       h.     Claim Evaluation: The EEOC and JPL will discuss the
  2   criteria for scoring claims made under this Decree. The Claims Administrator will
  3   score the Claim Forms based on defined criteria provided by the EEOC, and will
  4   provide its scoring to the EEOC and JPL within ninety (90) calendar days after the
  5   final claim-filing deadline. The Claims Administrator also will provide to the
  6   EEOC all of the Claim Forms and accompanying information submitted by each
  7   Claimant for the EEOC’s use in assessing who is an Eligible Claimant. JPL may
  8   provide in writing any input it has on the Claims Administrator’s scoring to the
  9   EEOC within thirty (30) calendar days of JPL’s receipt of that scoring. If JPL
 10   challenges a particular claim, it will provide the EEOC with a full explanation of
 11   the factual bases for any such challenge, together with any supporting evidence.
 12   Although the EEOC will consider the Claims Administrator’s scoring and JPL’s
 13   input in good faith, the EEOC reserves the right to reject some or all of the Claims
 14   Administrator’s scoring and/or JPL’s input. The EEOC has sole discretion in
 15   determining the scoring criteria, eligibility and monetary relief amounts for all
 16   Claimants. JPL agrees that the EEOC’s determination of these issues is final, and
 17   JPL will not object to them.
 18                       The EEOC will provide the Claims Administrator with one or
 19   more Distribution Lists, each with the following: (a) an eligibility and claim-share
 20   list; (b) a Notice of Eligibility and Claim Share Amount setting forth the amount to
 21   be designated as wages, subject to withholding taxes and other deductions the
 22   Claims Administrator is required by law to make, and the amount, if any, to be
 23   designated as appropriately reported on a Form 1099 as non-wage income; (c) a
 24   Notice of Ineligibility; and (d) any update that the EEOC has to the mailing address
 25   and other contact information for any Claimant. The Claims Administrator will
 26   share the Distribution Lists with all Parties.
 27                       i.     Notices to Claimants: Upon receiving the materials listed
 28   in Section VIII.B.4.h. from the EEOC, the Claims Administrator will mail to each

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  1   Claimant on the EEOC’s approved Distribution List(s) a Notice of Eligibility and
  2   Claim Share Amount, the Release of Claims form, and a return envelope addressed
  3   to the Claims Administrator. To each Claimant determined to be ineligible, the
  4   Claims Administrator will mail a Notice of Ineligibility, and a return envelope
  5   addressed to the Claims Administrator.
  6                      j.     Receiving Acceptance and Release Forms: The Claims
  7   Administrator will receive, track, and hold all Release of Claims forms, whether
  8   submitted by mail, in person, or electronically, and will provide JPL with a copy at
  9   the conclusion of the claims administration process (or such earlier date as JPL
 10   requires a copy if an Eligible Claimant files a lawsuit or administrative charge
 11   based on claims released under the Decree).
 12                      k.     Unaccepted Claim Shares: If a Claimant (to whom the
 13   Claims Administrator has sent a Notice of Eligibility and Claim Share Amount)
 14   does not timely return a signed Release of Claims form, the Claimant will be
 15   deemed to have rejected the claim share. The EEOC may authorize the acceptance
 16   of late-submitted Release of Claims forms. Claim shares deemed to be rejected
 17   under this subsection will be re-distributed to other Eligible Claimants, as
 18   determined by the EEOC.
 19                      l.     Subsequent Distribution List(s): The EEOC may provide
 20   the Claims Administrator one or more subsequent Distribution Lists, detailing the
 21   remaining Eligible Claimants and the Claim Share Amount awarded to each. The
 22   Claims Administrator will provide the EEOC and JPL an accounting of the monies
 23   remaining from the Settlement Fund. Although JPL may provide input, JPL has no
 24   standing to challenge the EEOC’s distribution determinations, which are entirely in
 25   the discretion of the EEOC. If JPL has no additional input, it will promptly so
 26   inform the EEOC.
 27                      The EEOC will provide a Final Distribution List to the Claims
 28   Administrator factoring in at its discretion, input from JPL, if any. The Claims

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  1   Administrator will notify JPL of receipt of the Final Distribution List.
  2                       m.    Deposit of Employer’s Portion of the Payroll Taxes and
  3   Final Distribution: No later than ten (10) business days after JPL receives notice
  4   from the Claims Administrator of receipt of a Distribution List, including the Final
  5   Distribution List, and also receives the amount of FICA and FUTA tax due from
  6   the Claims Administrator, JPL will deposit into the Settlement Fund for the Eligible
  7   Claimants the employer’s portion of the FICA and FUTA tax due on a rolling basis.
  8                       Within ten (10) business days of receiving from or on behalf of
  9   JPL the payment for the employer’s portion of the FICA and FUTA tax due, the
 10   Claims Administrator will issue and mail checks via Certified Mail to Eligible
 11   Claimants in accordance with the Distribution List(s). No monetary payment under
 12   this Decree will be made to a Claimant who has not complied with the terms of this
 13   Decree, including submission to the Claims Administrator of a fully-executed
 14   Release of Claims and any other required documents.
 15                       n.    Returned and/or Uncashed Checks: If any checks are
 16   returned as undeliverable, the Claims Administrator will attempt to find an updated
 17   address and will provide the EEOC with the name, last known address, date of
 18   birth, and social security number of the Eligible Claimant. If an updated address
 19   can be found, the check will be re-mailed via Certified Mail. If an Eligible
 20   Claimant fails to present his or her check after ninety (90) calendar days of it being
 21   issued, the Claims Administrator will provide the EEOC with the name, last known
 22   address, date of birth, and social security number of the Eligible Claimant, and the
 23   EEOC may make additional efforts to locate the Eligible Claimant for one hundred
 24   eighty (180) additional calendar days. If any of the Settlement Fund remains
 25   undistributed two hundred seventy (270) calendar days after exhausting these
 26   efforts to locate the Eligible Claimants and after the issuance of the Final
 27   Distribution List, the remaining balance of the Settlement Fund will be paid to a
 28   charity (or charities) addressing issues of age discrimination in employment that is

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  1   approved by the EEOC.
  2                       o.    Tax Reporting Forms: All amounts distributed from the
  3   Settlement Fund constitute wage income, except as expressly designated to the
  4   contrary by the EEOC. The Claims Administrator will prepare and mail a Form
  5   W-2 tax reporting form to each Eligible Claimant who receives a payment under
  6   this Decree for wages and benefits (back pay and/or front pay). The Claims
  7   Administrator also will prepare and mail a Form 1099 tax reporting form to each
  8   Eligible Claimant who receives a payment under this Decree for liquidated damages
  9   and/or other non-wage damages. Eligible Claimants are responsible for paying
 10   taxes on income reported on a 1099 form.
 11                       p.    Notice of Checks Issued: Within five (5) business days
 12   after mailing any payment to Eligible Claimants or any charity, the Claims
 13   Administrator will submit a register or copy of the checks to Anna Y. Park,
 14   Regional Attorney, U.S. Equal Employment Opportunity Commission, 255 East
 15   Temple Street, 4th Floor, Los Angeles, California, 90012 and to counsel of record
 16   for JPL.
 17                       q.    Reports on Amount Remaining in Settlement Fund: On a
 18   quarterly basis throughout the duration of this Decree, the Claims Administrator
 19   will notify the EEOC and JPL of the remaining amount available of the Settlement
 20   Fund.
 21                       r.    Report to Tax Authorities: The Claims Administrator will
 22   make all appropriate reports to the Internal Revenue Service and other tax
 23   authorities.
 24                       s.    Cooperation: The Parties will work together to ensure
 25   that the distribution, including reissuing checks should that be required, is
 26   effectively carried out under the Decree.
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  1                                                  IX.
  2                               GENERAL INJUNCTIVE RELIEF
  3         A.     Discrimination
  4                Defendant, including all managerial and non-managerial employees,
  5   and all those in active concert or participation with them, or any of them, are hereby
  6   enjoined from implementing or permitting any action, policy or practice with the
  7   purpose of discriminating against any person on the basis of age in violation of the
  8   ADEA in making layoff decisions or in assessing for hire or rehire any employee
  9   who was separated from JPL.
 10         B.     Retaliation
 11                JPL, including all managerial and non-managerial employees, and all
 12   those in active concert or participation with them, or any of them, are hereby
 13   enjoined from implementing or permitting any action, policy or practice with the
 14   purpose of retaliating against any current or former employee or applicant of JPL,
 15   because he or she has in the past, or during the term of this Decree:
 16                1.     Opposed any practice made unlawful under the ADEA;
 17                2.     Filed a charge of discrimination alleging such practice;
 18                3.     Participated in any manner in an internal or external
 19   investigation or proceeding relating to this case or any claim of a violation of the
 20   ADEA;
 21                4.     Was identified as a possible witness or Claimant in this action;
 22                5.     Asserted any right under this Decree;
 23                6.     Sought and/or received any relief in accordance with this
 24   Decree; or
 25                7.     Has a close association with an individual who took any of the
 26   actions listed in this Section.
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  1                                                  X.
  2                              SPECIFIC INJUNCTIVE RELIEF
  3         A.     Equal Employment Opportunity Personnel
  4                1.    Equal Employment Opportunity Monitor
  5                      Within thirty (30) calendar days after the Effective Date, JPL
  6   will designate an Equal Employment Opportunity Monitor (“Monitor”) with
  7   demonstrated experience in the areas of age discrimination and retaliation, to
  8   monitor JPL’s compliance with the ADEA and the provisions of this Decree. The
  9   Monitor will be subject to the Commission's approval, which shall not be
 10   unreasonably withheld. JPL will propose a Monitor to the Commission. JPL will
 11   provide information on the Monitor’s qualifications for the role to the EEOC. JPL
 12   will bear all costs associated with the selection and retention of the Monitor and the
 13   performance of the Monitor’s duties. The Monitor’s responsibilities for the term of
 14   the Decree will include:
 15                      a.      Developing and maintaining an anti-discrimination policy
 16   and reporting procedure that effectively carry out JPL’s obligations under this
 17   Decree;
 18                      b.      Developing and maintaining an anti-discrimination policy
 19   that includes a clear explanation of what conduct constitutes age discrimination and
 20   retaliation and a prohibition of such conduct;
 21                      c.      Developing and maintaining procedures to handle
 22   complaints of age discrimination and retaliation that comply with JPL’s obligations
 23   under the ADEA and this Decree;
 24                      d.      Monitoring JPL’s investigation of all complaints of age
 25   discrimination and retaliation to ensure compliance with the ADEA;
 26                      e.      Monitoring to determine whether JPL properly
 27   communicates with complainants regarding the complaint procedure, status of the
 28   complaint investigation, results of the investigation, and any remedial action taken;

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  1                       f.    Monitoring to determine whether all employees are
  2   trained on their rights and responsibilities under the ADEA, including but not
  3   limited to the responsibility to provide a workplace free of age discrimination and
  4   retaliation;
  5                       g.    Monitoring to determine whether JPL’s disciplinary
  6   policies hold employees and managers accountable for failing to take appropriate
  7   action and/or or for engaging in conduct prohibited under this Decree;
  8                       h.    Monitoring to determine whether JPL creates a
  9   centralized system of tracking age discrimination and retaliation complaints;
 10                       i.    Monitoring to determine that the terms and conditions of
 11   employment are consistent with the ADEA for workers of all ages;
 12                       j.    Monitoring to determine that JPL’s reports required by
 13   Section X.G of this Decree are accurately compiled and timely submitted;
 14                       k.    Reviewing Defendant’s hiring practices and policies,
 15   especially as they pertain to hiring of personnel in the protected age group and
 16   those previously laid off from JPL;
 17                       l.    Reviewing Defendant’s layoff practices and policies so as
 18   to ensure they are consistent with the Age Discrimination in Employment Act
 19   (including not requiring employees to retire in lieu of being laid off);
 20                       m.    Working with the Layoff Coordinator (as defined below
 21   in Section X.A.3) to explore means of informing employees who are laid off during
 22   the reporting period of potential job opportunities;
 23                       n.    Conducting an annual audit; of the disposition of
 24   applications filed during the annual reporting period by those who were laid off
 25   following the Effective Date to ensure that appropriate consideration was given to
 26   those who were qualified for open positions;
 27                       o.    Reporting on the ages of (i) employees selected for layoff,
 28   and (ii) placements within JPL during the annual reporting period, through rehiring

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  1   or transfer, of individuals laid off by JPL since the Effective Date of the Decree;
  2                       p.     Reviewing the information compiled by the Diversity
  3   Director and the Layoff Coordinator regarding the Decree implementation for
  4   which each are responsible to determine whether those commitments were fulfilled
  5   and determine the efficacy of their efforts; and
  6                       q.     Preparing an annual report on JPL’s progress, including
  7   its compliance with the terms of this Decree and the Monitor’s compliance with
  8   his/her responsibilities as articulated herein.
  9                2.     Diversity Director
 10                       Within thirty (30) calendar days after the Effective Date, JPL
 11   will designate a Director of Diversity (“Diversity Director”), with demonstrated
 12   experience in the area of preventing age discrimination in recruitment, to advise
 13   JPL in reconstructing and administering its Recruitment Policy in order to comply
 14   with the ADEA and the provisions of this Decree. JPL will provide information on
 15   the Diversity Director’s qualifications for the role to the EEOC. JPL will bear all
 16   costs associated with the selection and retention of the Diversity Director and the
 17   performance of his/her duties. The Diversity Director’s responsibilities will
 18   include:
 19                       a.     Working with the Monitor and JPL’s human resources
 20   staff to create a recruitment plan designed to recruit employees of all ages,
 21   including those in the protected age group;
 22                       b.     Determining that appropriate consideration is given to the
 23   qualifications of employees in the protected age group who are laid-off following
 24   the Effective Date with respect to positions that are open at the time they are
 25   notified of layoff and during the ensuing one hundred and eighty (180) days to the
 26   extent that such employees apply for and meet the basic qualifications for the
 27   positions.
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  1                3.     Layoff Coordinator
  2                       Within thirty (30) days after the Effective Date, JPL will
  3   designate a Layoff Coordinator, with demonstrated experience in the area of
  4   preventing age discrimination in conducting layoffs, to advise JPL in reconstructing
  5   and administering its Layoff Policy in order to comply with the ADEA and the
  6   provisions of this Decree. JPL will provide information on the Layoff
  7   Coordinator’s qualifications for the role to the EEOC. JPL will bear all costs
  8   associated with the selection and retention of the Layoff Coordinator and the
  9   performance of his/her duties. JPL may designate the same person as the Diversity
 10   Director and Layoff Coordinator. The Layoff Coordinator’s responsibilities with
 11   oversight by the Monitor will include:
 12                       a.    Providing guidance on JPL’s layoff of personnel,
 13   including development, review and implementation of layoff criteria and
 14   procedures, construction of layoff pools, review of tentative layoff decisions and
 15   documentation in support of those decisions, analysis of tentative decisions for age
 16   impact, and review of efforts to place employees selected for layoff into open
 17   positions at JPL;
 18                       b.    Determining that all persons involved in the layoff
 19   process have been trained to conduct layoffs prior to those persons being involved
 20   in the layoff process;
 21                       c.    Sharing information on where employees scheduled for
 22   layoff, as well as management and supervisory personnel, can view JPL positions
 23   that are open;
 24                       d.    Collecting and preserving records reflecting the layoff
 25   criteria and reasons for each layoff decision;
 26                       e.    Creating and maintaining a list of likely outplacement
 27   employers and resources and sharing the list with laid-off employees;
 28                       f.    Providing an outplacement education program selected by

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  1   JPL for employees being laid off to provide guidance on formulating a job search
  2   plan; and
  3                 g.    Reviewing practices to ensure that laid off employees are
  4   permitted to apply for posted positions and are screened using the same non-age-
  5   based criteria as other applicants.
  6         B.      Anti-Discrimination Policies and Procedures
  7                 1.    JPL, for all of its facilities, will review, revise, distribute, and
  8   implement its policies and procedures against age discrimination and retaliation
  9   prohibited by the ADEA (the “Policies”). The Policies will include:
 10                       a.     A clear explanation of prohibited conduct, including that
 11   an employee’s age will not be considered in making hiring or layoff decisions;
 12                       b.     A recruitment process that:
 13                              i.     Does not disproportionately target younger
 14   applicants, but nothing in this Decree precludes JPL from having an intern or early
 15   career hire program that is not restricted by age;
 16                              ii.    Implements the advice of the Diversity Director,
 17   calculated to recruit potential employees of all ages, consistent with the ADEA.
 18   For instance, in addition to JPL’s early career hire recruitment program, it will
 19   recruit for mid-career and more-senior hires;
 20                       c.     A hiring process that does not consider the age of the
 21   applicant (with the exception of the legal age requirements to work in the United
 22   States);
 23                       d.     A layoff process that:
 24                              i.     Does not consider age of the employee; and
 25                              ii.    Establishes clear, defined procedures to identify the
 26   layoff pool, including explanations of why individuals are included in or excluded
 27   from the layoff pool and why individuals in the layoff pool are and are not selected
 28   for layoff;

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  1                       e.    A complaint process that:
  2                             i.     Provides that employees or applicants who make
  3   complaints of age discrimination and/or who provide information related to such
  4   complaints are protected against retaliation;
  5                             ii.    Clearly describes the accessible avenues (including
  6   human resources) for making a complaint of age discrimination, and the process for
  7   submitting a complaint (which may commence with an oral report, followed by a
  8   written confirmation);
  9                             iii.   States that JPL will endeavor to limit identification
 10   of age discrimination complainants to those who have a need to know;
 11                             iv.    Requires prompt and appropriate corrective action
 12   when JPL determines that age discrimination and/or retaliation has occurred;
 13                             v.     Provides a prompt, thorough, and impartial
 14   investigation;
 15                             vi.    Provides for communications with the complainant
 16   in writing regarding the status of the complaint/investigation, results of the
 17   investigation, and if any remedial action was taken;
 18                             vii.   Requires any supervisory, management or human
 19   resources employee who receives a complaint of age discrimination, whether
 20   formal or informal, written or verbal, to report that complaint to the Monitor as
 21   soon as possible after receiving said complaint but no later than three (3) business
 22   days from receipt; and
 23                             viii. Provides that JPL’s disciplinary policies hold
 24   employees at all levels accountable for failing to take appropriate action and/or for
 25   engaging in conduct prohibited under this Decree.
 26                2.     JPL will provide to the EEOC a copy of the Policies within
 27   thirty (30) days after the Effective Date.
 28                3.     JPL will distribute the Policies to each employee, managerial

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  1   and non-managerial, within sixty (60) calendar days of the Effective Date and
  2   submit to the EEOC a statement confirming distribution of the Policies within ten
  3   (10) calendar days following distribution.
  4                  4.   JPL will distribute the Policies to each new employee,
  5   managerial or non-managerial, hired after the initial distribution of the Policies
  6   within thirty (30) calendar days of the date they commence employment.
  7         C.       Statements of Non-Discrimination
  8                  1.   Within ten (10) calendar days of the Effective Date, JPL’s
  9   Laboratory Director will release a video-taped statement to all employees, setting
 10   out JPL’s commitment to equal employment opportunity, assuring its employees
 11   that all employees will be free from unlawful discrimination on the basis of age and
 12   other protected status, and emphasizing that neither discrimination on the basis of
 13   age or other protected status, nor retaliation for reporting discrimination, will be
 14   tolerated.
 15                  2.   JPL will disclose on its Careers website that JPL does not
 16   discriminate on the basis of age (among other protected characteristics) and will
 17   include on its Careers website information on how applicants may complain if they
 18   believe that discrimination has occurred. Such information will include to whom
 19   the complainant may complain, how to complain, and contact information to check
 20   on the status of their complaint.
 21         D.       Training
 22                  1.   Non-Supervisory Employees
 23                       a.    Within one hundred twenty (120) days of the Effective
 24   Date of this Decree, JPL, in consultation with the Monitor, will provide live,
 25   videotaped and/or interactive online training, lasting at least thirty (30) minutes in
 26   duration, to all of JPL’s non-supervisory employees. Training that occurs between
 27   the execution of this Agreement and the Effective Date will also fulfill the
 28   requirement;

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  1                       b.        The training will be in a language the employees
  2   understand and will cover the revised Policies, equal employment rights and
  3   responsibilities under the ADEA (as well as other nondiscrimination laws) and
  4   retaliation;
  5                       c.        The training will further address the following:
  6                                 i.     The type of conduct that constitutes age
  7   discrimination and retaliation. Examples will be given of the prohibited conduct to
  8   ensure understanding by employees;
  9                                 ii.    JPL’s policies and procedures for reporting and
 10   handling complaints of discrimination (including age) and retaliation, and how to
 11   utilize these policies; and
 12                                 iii.   External avenues, such as the EEOC, that are
 13   available to employees seeking to complain of age discrimination and retaliation;
 14                       d.        Employees must complete the training once every two (2)
 15   years for the duration of this Decree;
 16                       e.        All newly-hired employees must complete the training no
 17   later than ninety (90) days after commencing employment; and
 18                       f.        All persons required to attend such training will verify
 19   their attendance in writing or electronically.
 20                  2.   Managerial and Supervisory Employees
 21                       a.        Within one hundred twenty (120) days of the Effective
 22   Date of this Decree, JPL, in consultation with the Monitor, will provide live,
 23   videotaped and/or interactive online training, lasting at least sixty (60) minutes in
 24   duration, to all of JPL’s managerial, supervisory, and lead employees, including the
 25   Laboratory Director, the Directors of all of the Directorates, the Division Managers,
 26   Deputy Division Managers, Section Managers, Deputy Section Managers, and
 27   Group Supervisor (“Management Training”). Management Training that occurs
 28   between the execution of this Agreement and the Effective Date will also fulfill the

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  1   requirement;
  2                       b.     In addition to covering the content provided for non-
  3   supervisory employees in subsection D.1. above, Management Training will further
  4   address the following:
  5                              i.     JPL’s exposure and responsibility under the ADEA
  6   and state law;
  7                              ii.    How to make personnel decisions, including
  8   layoffs, in a manner that does not violate the ADEA;
  9                              iii.   How to identify age discrimination and retaliation;
 10                              iv.    How to properly handle and escalate complaints of
 11   age discrimination and retaliation; and
 12                              v.     Their obligation to take preventative and corrective
 13   measures to avoid or address discrimination and retaliation;
 14                       c.     Managerial, supervisory, and lead employees must
 15   complete the Management Training once every two (2) years for the duration of this
 16   Decree;
 17                       d.     All newly-hired or newly-advanced managerial,
 18   supervisory and lead employees must complete the training no later than sixty (60)
 19   days after commencing employment in, or assuming, a managerial, supervisory or
 20   lead role; and
 21                       e.     All persons required to attend such training will verify
 22   their attendance in writing or electronically.
 23                  3.   Human Resources Employees
 24                       a.     Human Resources employees and any other employees
 25   who have lead responsibility for investigating complaints of age discrimination and
 26   retaliation will receive the training set forth in this Section X.D.3., and an additional
 27   specialized training, two (2) hours in duration once every two (2) years for the term
 28   of this Decree on how to effectively investigate claims of age discrimination and

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  1   retaliation (“Complaint Process Training”).
  2                       b.      Human Resources employees and any other employees
  3   involved in the recruitment process will receive the training set forth in this Section
  4   X.D.3., and an additional specialized training, two (2) hours in duration once a year
  5   for the term of this Decree (“Recruitment Policy Training”). The specialized
  6   training will address how to effectively implement the amended Recruitment and
  7   Hiring Policies in a manner that does not violate the ADEA or the terms of this
  8   Decree.
  9                       c.      Human Resources employees involved in instructing
 10   management employees on how to conduct layoffs will receive the training set forth
 11   in this Section X.D.3., and an additional specialized training, two (2) hours in
 12   duration once a year for the term of this Decree (“Layoff Policy Trainer Training”).
 13   The specialized training will address how to advise and train management
 14   employees to implement the amended Layoff Policy in a manner that does not
 15   violate the ADEA or the terms of this Decree.
 16                       d.      Any active Human Resources employee who is unable to
 17   attend any scheduled HR Training will be trained within sixty (60) days of the
 18   training set forth above.
 19                       e.      Within sixty (60) days of the hire date of any Human
 20   Resources employee hired after the annual training but within the term of the
 21   Decree, JPL will provide an HR Training covering the issues set forth above, as
 22   appropriate.
 23                  4.   Verification of Training
 24                       JPL will retain a written or electronic record reflecting that
 25   persons required to attend training prescribed by Section X.D.1. through D.3.
 26   fulfilled the training requirement.
 27                  5.   EEOC Review of Training Material
 28                       At least thirty (30) days prior to the first session of each of the

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  1   trainings required under this Decree, JPL will produce to the EEOC the written
  2   training materials to be used and a description of the training to be provided. The
  3   training materials will be sent via U.S. Mail to the attention of Anna Y. Park,
  4   Regional Attorney, U.S. Equal Employment Opportunity Commission, 255 East
  5   Temple Street, 4th Floor, Los Angeles, California, 90012. JPL will consider any
  6   input provided by the EEOC on the draft training materials.
  7         E.     Record Keeping
  8                JPL will also work in conjunction with the Monitor to establish a
  9   record-keeping procedure that provides for the centralized tracking of formal
 10   outreach recruitment initiatives, hires, promotions, terminations, and age
 11   discrimination complaints, as well as the monitoring of such complaints to prevent
 12   retaliation. The records to be maintained will include:
 13                1.     Documentation generated in connection with any complaint,
 14   investigation into, or resolution of every complaint of age discrimination and/or
 15   retaliation for the duration of the Decree;
 16                2.     Documentation reflecting receipt of the Policies by managers
 17   and employees as required under this Decree;
 18                3.     Documentation verifying the occurrence of all training sessions
 19   required under this Decree, including the names of all attendees for each session as
 20   required under this Decree;
 21                4.     Documents reflecting the monitoring, counseling, or disciplining
 22   of employees whom JPL determined to have engaged in behavior that constitutes
 23   age discrimination and/or retaliation;
 24                5.     Documents reflecting JPL’s confidential follow-up inquiries into
 25   whether any complainant believes he or she has been retaliated against;
 26                6.     Documentation reflecting recruitment and hiring:
 27                       a.    The job requisition;
 28                       b.    Documents reflecting any outreach recruiting for the job

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  1   requisition;
  2                       c.     The applications for employment and other documents
  3   submitted by an applicant in support of the application; and
  4                       d.     A summary of the reason for selecting the successful
  5   applicant(s) for each job opening for the reporting period.
  6                  7.   Documentation generated or considered in conducting layoffs:
  7                       a.     Documents defining the layoff pools created for each
  8   layoff and the reason for the pool composition;
  9                       b.     Documents setting forth the layoff criteria; and
 10                       c.     Documents used or created in ranking employees within a
 11   layoff pool and in ultimately selecting those who would be laid off;
 12                  8.   Documentation of each employee who is separated (either
 13   voluntarily or involuntarily):
 14                       a.     The name of the separated employee;
 15                       b.     The last position held;
 16                       c.     Section, if any;
 17                       d.     Group, if any;
 18                       e.     Date of separation;
 19                       f.     Date of birth;
 20                       g.     Age at separation;
 21                       h.     The reason for separation; and
 22                       i.     If employees are hired into a Section from which
 23   employees were laid off in the prior twelve (12) months: the name, job title, job
 24   level, and date of birth of all employees hired in that Section, if any, in the twelve
 25   (12) months following a layoff; and
 26                  9.   Performance evaluations, if given, but this Decree will not
 27   require JPL to prepare performance evaluations.
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  1                          JPL will make the aforementioned records available to the
  2   EEOC for inspection within ten (10) business days following a written request by
  3   the EEOC.
  4          F.     Notice Posting
  5                 Within ten (10) business days after the Effective Date and throughout
  6   the term of this Decree, JPL will post the notice attached to the Decree as Exhibit
  7   “B” in a clearly visible location frequented by employees at any JPL location within
  8   the state of California.
  9          G.     Reporting
 10                 JPL, through its Monitor, will submit an annual report each year
 11   during the term of this Decree, that:
 12                 1.       Confirms JPL’s implementation of its commitments in Section
 13   X.A. through F. of the Decree, including a description of the Monitor’s audits and
 14   oversight under the Decree;
 15                 2.       Confirms that the Notice Posting requirement as set forth in
 16   Section X.F has been implemented and is in full compliance throughout the
 17   duration of the Decree;
 18                 3.       Attaches a copy of any updates to the Policies against, and the
 19   complaint procedure for addressing, age discrimination and retaliation that are
 20   made after consultation with the Monitor and Diversity Director in compliance with
 21   the Decree;
 22                 4.       Reflects the attendance for all training sessions required under
 23   this Decree that took place during the previous twelve months;
 24                 5.       Describes all complaints of age discrimination and/or retaliation
 25   for complaining about age discrimination made since the Effective Date of the
 26   Decree or the submission of the immediately preceding report hereunder, whichever
 27   is later, including:
 28                          a.    the name and title of the complaining party(ies);

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  1                       b.     the date of the complaint;
  2                       c.     the name and title of the alleged perpetrator(s);
  3                       d.     the name and title of the person(s) who conducted the
  4   investigation into the complaint;
  5                       e.     the nature of the complaint (i.e., comments, acts, etc.);
  6                       f.     the date of the commencement and completion of the
  7   investigation;
  8                       g.     a brief description of the investigation (i.e., number of
  9   persons interviewed, types of materials reviewed);
 10                       h.     the outcome of the investigation and any action taken. If
 11   the outcome has not been determined as of the date the report is submitted, the
 12   outcome will be included in the next report; and
 13                       i.     whether previous age discrimination complaints had been
 14   made regarding the alleged offender(s). If so, the report will also include the
 15   outcome(s) of the prior investigation(s) of complaints against the same alleged
 16   perpetrator(s);
 17                6.     Summarizes layoffs during the reporting period:
 18                       a.     The name and age of laid-off employee;
 19                       b.     Reasons for the layoff;
 20                       c.     Documents reflecting any rankings or comparisons
 21   performed to select employees for layoff;
 22                       d.     All employees responsible for the layoff decision; and
 23                       e.     The name, date of birth, job title, and career level of all
 24   employees hired to or transferred into the Section from which the employee was
 25   laid off during or six (6) months prior to the start of the reporting period;
 26                7.     Analyzes whether layoffs, if any, that are effective during the
 27   reporting period adversely impacted individuals age 40 and older; and
 28                8.     Reports on the hires in the Sections from which employees were

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  1   laid off during the reporting period:
  2                       a.     Job requisitions;
  3                       b.     Outreach recruitment, if any, for a given job requisition;
  4                       c.     Applications for employment and any other documents
  5   submitted by an applicant in support of the application for the job requisitions
  6   identified in subsection E.6.a.;
  7                       d.     A summary of the reason for selection of the applicant(s)
  8   for each job requisition identified in subsection E.6.a. during the reporting period;
  9   and
 10                       e.     Date of birth of the person(s) hired for the job requisitions
 11   identified in subsection E.6.a.
 12                All reports under this Section will be directed to: U.S. Equal
 13   Employment Opportunity Commission, Attn. Regional Attorney Anna Y. Park, 255
 14   E. Temple Street, 4th Floor, Los Angeles, CA 90012.
 15                                                  XI.
 16               COSTS OF ADMINISTRATION AND IMPLEMENTATION
 17                                      OF CONSENT DECREE
 18         JPL will bear all costs associated with its administration and implementation
 19   of its obligations under this Decree.
 20                                                  XII.
 21                              COSTS AND ATTORNEYS’ FEES
 22         Each party will bear its own costs of suit and attorneys’ fees.
 23                                                  XIII.
 24                              MISCELLANEOUS PROVISIONS
 25         A.     During the term of this Decree, JPL will provide any potential
 26   successor-in-interest with a copy of this Decree within a reasonable time of not less
 27   than thirty (30) days prior to the execution of any agreement for acquisition or
 28   assumption of control of any or all of JPL’s facilities, or any other material change

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  1   in corporate structure, and will simultaneously inform the EEOC of same.
  2           B.    JPL agrees that this Decree applies to JPL, which is located at 4800
  3   Oak Grove Drive, Pasadena, CA 91109, and will apply to employees of JPL at any
  4   new location opened or acquired by JPL in the United States during the term of the
  5   Decree.
  6           C.    During the term of this Decree, JPL will assure that each of its officers,
  7   managers and supervisors is aware of any term(s) of this Decree which may be
  8   related to his/her job duties.
  9           D.    Unless otherwise stated, all notices, reports and correspondence
 10   required under this Decree will be delivered to the attention of Anna Y. Park,
 11   Regional Attorney, U.S. Equal Employment Opportunity Commission, 255 East
 12   Temple Street, 4th Floor, Los Angeles, CA, 90012; facsimile number (213) 894-
 13   1301.
 14           E.    The Parties agree to entry of this Decree and judgment subject to final
 15   approval by the Court.
 16
 17           All Parties, through the undersigned, respectfully apply for and consent to the
 18   entry of this Consent Decree Order.
 19                                                Respectfully submitted,

 20                                                U.S. EQUAL EMPLOYMENT
                                                   OPPORTUNITY COMMISSION
 21
 22
 23    Date: April 3, 2020                               /s/
                                                   By: Anna Y. Park
 24                                                    Attorneys for Plaintiff EEOC
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